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                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


DEBRA THOMPSON,                          }
                                         }
      Plaintiff,                         }
                                         }
v.                                       }   Case No.: 2:17-cv-01456-ACA
                                         }
QCHC, INC. and CLIFF                     }
HENDERSON,                               }
                                         }
      Defendants.                        }


                   MEMORANDUM OPINION AND ORDER

      Plaintiff Debra Thompson alleges that Defendant Cliff Henderson sexually

harassed her and that Defendant QCHC, Inc. (“QCHC”) terminated her

employment for complaining about Mr. Henderson’s conduct. Ms. Thompson

asserts claims against QCHC for hostile work environment and retaliation under

Title VII. She asserts a claim against Mr. Henderson for invasion of privacy under

state law.

      Before the court are Defendants’ motions for summary judgment. (Doc. 34;

Doc. 40). For the reasons explained below, the court GRANTS QCHC’s motion

for summary judgment (doc. 34), and in the absence of an independent basis for

jurisdiction over Ms. Thompson’s state law invasion of privacy claim against Mr.
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Henderson, the court will decline to exercise supplemental jurisdiction over the

claim.

I.       STANDARD OF REVIEW

         “The court shall grant summary judgment if the movant shows that there is

no genuine dispute as to any material fact and the movant is entitled to judgment as

a matter of law.” Fed. R. Civ. P. 56(a). “The moving party bears the initial burden

of demonstrating the absence of a genuine dispute of material fact.” FindWhat

Inv’r Grp. v. FindWhat.com, 658 F.3d 1282, 1307 (11th Cir. 2011) (citing Celotex

Corp. v. Catrett, 477 U.S. 317, 323 (1986)). A “material fact” is one that “might

affect the outcome of the suit under the governing law.” Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986).

II.      BACKGROUND

         QCHC is a Birmingham-based company that contracts with local

governmental entities to provide healthcare services to city and county correctional

facilities. (Doc. 34-1 at ¶ 2). QCHC hired Ms. Thompson in March 2015 as a

part-time nurse and assigned her to work at the City of Trussville’s Municipal Jail.

(Doc. 34-1 at ¶ 5; Doc. 34-2 at 8). She remained on that assignment until the

spring of 2016, when QCHC transferred her to another of the facilities it served.

(Doc. 34-2 at 14).




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      When Ms. Thompson was hired, her supervisor was Ashlei Porter, Chief

Nursing Officer for QCHC at that time. (Doc. 34-1 at ¶ 6). According to Ms.

Thompson, Stacie Thompson (“Stacie”) became her supervisor in the spring of

2016. (Doc 34-2 at 11). Stacie was a site administrator for the St. Clair County

Jail, another facility where QCHC provides healthcare services. (Doc. 34-2 at 11;

Doc. 34-4 at ¶ 1). Stacie was never formally assigned responsibility over the

Trussville Jail, but she did cover shifts there. (Doc. 34-4 at ¶ 2). Victoria

Singleton, QCHC’s Regional Director of Nursing for Alabama, also supervised

Ms. Thompson’s work at the Trussville Jail beginning in the spring of 2016. (Doc.

34-1 at ¶ 6).

      Ms. Thompson alleges that Cliff Henderson sexually harassed her while she

worked at the Trussville Jail. (Doc. 34-2 at 25). Mr. Henderson was a police

officer who worked at the Jail, but he was not employed by QCHC. (Doc. 34-2 at

22). Ms. Thompson first met Mr. Henderson when he came into the office during

her training and would “laugh and talk and flirt and cut up and get in the way.”

(Doc. 34-2 at 22).

      In July 2015, Ms. Thompson and Mr. Henderson began texting frequently.

(See generally Doc. 34-5). As time passed, the exchanges became increasingly

flirtatious. (See Doc. 34-5 at 3-5, 137, 140-142). On one occasion, Ms. Thompson

texted Mr. Henderson pictures of her feet after a pedicure, and Mr. Henderson

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replied that she had “sexy toes.” (Doc. 34-2 at 26-27). In another exchange, Mr.

Henderson explained that he was so tired the night before that he never took his

clothes off. (Doc. 34-5 at 51). Mr. Henderson continued, “I don’t wear anything

when I go to bed, but I still had my cop suit on lol.” (Doc. 34-5 at 51). Ms.

Thompson replied, “lol . . . you are hilarious . . . I love it!” (Doc. 34-2 at 30; Doc.

34-5 at 51). In response to a number of Mr. Henderson’s text messages, Ms.

Thompson told Mr. Henderson that she either missed seeing him or was looking

forward to seeing him at work. (Doc. 34-5 at 29, 44).

       In addition to the texts, Mr. Henderson and Ms. Thompson verbally

communicated.      During some conversations, Mr. Henderson referred to Ms.

Thompson as “Miss 44” or “My 44 girl.” (Doc. 34-2 at 25). Ms. Thompson

believes the reference to “44” was in relation to her breast or bra size, although she

denies giving Mr. Henderson her breast or bra size, and she denies that “44” is the

correct size. (Doc. 34-2 at 25). Mr. Henderson occasionally referred to Ms.

Thompson as “Hottie Nurse,” but Ms. Thompson testified that Mr. Henderson was

joking on some occasions. (Doc. 34-2 at 26). Ms. Thompson never told Mr.

Henderson that she was offended by the reference to “Hottie Nurse” and never told

him to stop referring to her as “44.” (Doc. 34-2 at 26).

      Mr. Henderson also gave Ms. Thompson a few shoulder/back massages.

(Doc. 34-2 at 33). Ms. Thompson texted Mr. Henderson on one occasion and said

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that the massage “felt good.” (Doc. 34-2 at 28). In another text message, Mr.

Henderson suggested that he could give a better massage if Ms. Thompson took off

her shirt. (Doc. 34-5 at 131). During one of the massages, Mr. Henderson “pushed

back” Ms. Thompson’s scrubs and “put[] his hands onto [her] skin.” (Doc. 34-2 at

28). Ms. Thompson “got up and felt very uncomfortable.” (Doc. 34-2 at 28). Ms.

Thompson never complained to Mr. Henderson about the massages, and she never

asked him to stop. (Doc. 34-2 at 33).

      Ms. Thompson testified that Mr. Henderson’s conduct caused stress, but the

stress did not prevent her from providing patient care to inmates at the Trussville

Jail. (Doc. 34-2 at 46-47). In fact, Ms. Thompson sought to work more hours at

the Trussville Jail. (Doc. 34-2 at 47). She asked QCHC to approach the City of

Trussville and ask if the contract could be amended to allow for a full-time nurse

position at the jail. (Doc. 34-2 at 13-14, 17). After the City of Trussville rejected

the idea, Ms. Thompson transferred to another QCHC location where she could

work more hours. (Doc. 34-2 at 14).

      After her transfer, Ms. Thompson returned to the Trussville Jail “a couple of

times” to check on inmates there. (Doc. 34-2 at 38). One day in June 2016, Stacie

asked Ms. Thompson whether she wanted to go check on the inmates at the

Trussville Jail. (Doc. 34-2 at 38). Ms. Thompson told Stacie that she did not want

to go back to the Trussville Jail because Mr. Henderson made her “feel

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uncomfortable” and “says sexual things.” (Doc. 34-2 at 38). Ms. Thompson

showed Stacie some of the text messages from Mr. Henderson, and Stacie

responded, “Oh, gosh.” (Doc. 34-2 at 38). This was the first time that Ms.

Thompson reported Mr. Henderson’s conduct to QCHC management, and after

Ms. Thompson told Stacie about Mr. Henderson’s conduct, QCHC did not require

her to go back to the Trussville Jail. (Doc. 34-2 at 38). 1

       On June 28, 2016, a new inmate asked Ms. Thompson for blood pressure

medication. (Doc. 34-2 at 39; Doc. 34-4 at ¶ 4). Ms. Thompson gave the inmate

one dose of prescription blood pressure medication without confirming that the

inmate had a prescription for the medication and without getting approval from a

QCHC doctor as required per QCHC policy. (Doc. 34-3 at 2; Doc. 34-4 at ¶¶ 4-6).

Ms. Thompson gave the prescription medication to the inmate without checking

the inmate’s blood pressure and without documenting the event in the inmate’s

medical file. (Doc. 34-4 at ¶ 5). Later that day, Ms. Thompson called Stacie and

told her what she did. (Doc. 34-2 at 39). According to Ms. Thompson, Stacie told

her, “It’s okay this time, but don’t do it anymore, just always call the doctor.”

(Doc. 34-2 at 40).



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  In addition to Stacie, Ms. Thompson told two QCHC co-employees about Mr. Henderson’s
conduct. (Doc. 34-2 at 33-38). One of Ms. Thompson’s co-employees told her to report Mr.
Henderson’s conduct to his boss at the Trussville Jail, but Ms. Thompson did not do so. (Doc.
34-2 at 36-37).
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      Stacie reported Ms. Thompson’s actions to Ms. Singleton. (Doc. 34-4 at ¶

7). Ms. Singleton asked Stacie about Ms. Thompson’s overall work performance,

and Stacie told her that there were other problems. (Doc. 34-4 at ¶ 7). Ms.

Singleton asked Stacie to prepare a disciplinary write up for the blood pressure

medication incident and to submit a written report of other performance issues.

(Doc. 34-4 at ¶ 7). On July 6, 2016, Stacie issued a “Notice of Disciplinary

Action” to Ms. Thompson for administering medication to the inmate without

taking the inmate’s blood pressure and without a doctor’s order in violation of

QCHC policy. (Doc. 34-3 at 2). Stacie provided a written report to Ms. Singleton

on July 7, 2016. (Doc. 34-4 at ¶ 7).

      After receiving Stacie’s report, Ms. Singleton approached Justin Barkley,

QCHC’s in-house counsel, with concerns about Ms. Thompson’s work

performance. (Doc. 34-1 at ¶ 10). Ms. Singleton and Mr. Barkley made the

decision to terminate Ms. Thompson based on these performance issues, and they

checked with QCHC’s President, Dr. Johnny Bates, to make sure he was okay with

the decision. (Doc. 34-1 at ¶ 10; Doc. 34-6 at ¶ 2). Dr. Bates gave his approval.

(Doc. 34-6 at ¶ 2). Neither Dr. Bates nor Mr. Thompson were aware of any issues

that Ms. Thompson had with Mr. Henderson at this time and did not learn of those

issues until Ms. Thompson filed her EEOC complaint. (Doc. 34-1 at ¶ 10; Doc.

34-6 at ¶ 3).

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        On July 8, 2016, Mr. Barkley and Ms. Singleton called Ms. Thompson to

notify her that she was being terminated. (Doc. 34-2 at 40). Stacie was not

involved in the decision to terminate Ms. Thompson, and Stacie did not provide

any opinion to Ms. Singleton or Mr. Barkley about Ms. Thompson’s continued

employment with QCHC. (Doc. 34-4 at ¶ 10). The record contains no evidence

that Stacie or either of Ms. Thompson’s co-employees told Ms. Singleton, Mr.

Barkley, or Dr. Bates about Ms. Thompson’s complaints regarding Mr. Henderson.

III.    DISCUSSION

        QCHC moves for summary judgment on both of the claims that Ms.

Thompson asserts against it. QCHC argues that Ms. Thompson’s Title VII hostile

work environment and Title VII retaliation claims fail as a matter of law because

Ms. Thompson cannot establish a prima facie case for either claim. The court

agrees.

        A.    Title VII Hostile Work Environment

        To establish a sexually hostile work environment claim, a plaintiff must

show:

        (1) that he or she belongs to a protected group; (2) that the employee
        has been subject to unwelcome sexual harassment, such as sexual
        advances, requests for sexual favors, and other conduct of a sexual
        nature; (3) that the harassment must have been based on the sex of the
        employee; (4) that the harassment was sufficiently severe or pervasive
        to alter the terms and conditions of employment and create a
        discriminatorily abusive working environment; and (5) a basis for
        holding the employer liable.
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Mendoza v. Borden, Inc., 195 F.3d 1238, 1245 (11th Cir. 1999). QCHC argues

that Ms. Thompson has failed to establish the fourth and fifth elements of her

claim. (Doc. 35 at 16-28).

      Concerning the fourth element, the Eleventh Circuit has explained that

sexual harassment does “not constitute employment discrimination under Title VII

unless the conduct is sufficiently severe or pervasive to alter the conditions of [the

victim’s] employment and create an abusive working environment.” Id. at 1245

(internal quotation marks and citation omitted) (alteration in original).

“Establishing that harassing conduct was sufficiently severe or pervasive to alter an

employee’s terms or conditions of employment includes a subjective and an

objective component.” Id. at 1246. “The employee must subjectively perceive the

harassment as sufficiently severe and pervasive to alter the terms or conditions of

employment, and this subjective perception must be objectively reasonable. Id.

(internal quotation marks omitted).        QCHC challenges only the objective

component. (Doc. 35 at 17).

      To determine whether harassment is objectively hostile, the court considers:

“(1) the frequency of the conduct; (2) the severity of the conduct; (3) whether the

conduct is physically threatening or humiliating, or a mere offensive utterance; and

(4) whether the conduct unreasonably interferes with the employee’s job

performance.” Smelter v. So. Home Care Servs., Inc., 904 F.3d 1276, 1285 (11th
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Cir. 2018) (internal quotation marks and citation omitted). These factors guide the

court’s analysis, but “the objective element is not subject to mathematical

precision.” Bryant v. Jones, 575 F.3d 1281, 1297 (11th Cir. 2009). The court must

view the evidence “cumulatively and in the totality of the circumstances.” Reeves

v. C.H. Robinson Worldwide, Inc., 594 F.3d 798, 808 (11th Cir. 2010). Doing so

here, the court finds that Ms. Thompson has not demonstrated that Mr.

Henderson’s harassment was objectively hostile.

      Concerning the frequency of Mr. Henderson’s conduct, the evidence, viewed

in the light most favorable to Ms. Thompson, demonstrates that Mr. Henderson

called her a “Hottie Nurse” or some iteration of “my 44” 15 to 21 times over the

course of the 16 months she was employed with QCHC. (See Doc. 34-2 at 25-26).

In addition, Mr. Henderson gave Ms. Thompson a back or shoulder massage on

four occasions during that same time period. (Doc. 34-2 at 23). The other

comments that Mr. Henderson made to Ms. Thompson via text occurred

intermittently between July 2015 and May 2016. (See generally Doc. 34-5). The

frequency of this conduct falls short of what the Eleventh Circuit has found

sufficient to constitute pervasive harassment. See Smelter, 904 F.3d at 1285

(plaintiff heard harassing comments “every day” during her two month

employment with defendant); Adams v. Austal, U.S.A., L.L.C., 754 F.3d 1240,

1251-54 (11th Cir. 2014) (plaintiffs heard harassing comments “every morning,”

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“every day,” “regularly,” or “all the time”); Miller v. Kentworth of Dothan, Inc.,

277 F.3d 1269, 1276 (11th Cir. 2002) (plaintiff exposed to harassing conduct

“three to four times a day” over a one month period); Johnson v. Booker T.

Washington Broad. Serv., Inc., 234 F.3d 501, 509 (11th Cir. 2000) (holding that

“roughly fifteen separate instances of harassment over the course of four months”

was pervasive).

      Even if Mr. Henderson’s conduct was frequent, this “does not compensate

for the absence of the other factors.” Mendoza, 195 F.3d at 1248. And here, the

evidence does not demonstrate that Mr. Henderson’s conduct was severe enough to

establish a hostile work environment claim. Mr. Henderson never exposed himself

to Ms. Thompson, and he never discussed any graphic sexual encounters he had.

(Doc. 34-2 at 32). Mr. Henderson did not proposition Ms. Thompson for sex or

make any explicit sexual advances toward her. (Doc. 34-2 at 32). The conduct

about which Ms. Thompson complains includes Mr. Henderson’s references to Ms.

Thompson as “Hottie Nurse” and “44;” his comment about him sleeping in the

nude, Ms. Thompson’s “sexy toes,” his ability to “get [her] going,” and his desire

to spend the day with her; his suggestion that he considered asking Ms. Thompson

to perform his prostrate exam; his sending her a picture of a family dressed up in

costumes that made them appear nude; and his giving her four back/shoulder




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massages and suggesting after one massage that she should take her shirt off for

the next massage. (See Doc. 42 at 9-10).

      Mr. Henderson’s conduct at times may have been inappropriate and

offensive, but the conduct fails to meet the severity prong required to constitute

actionable sexual harassment. Compare Hulsey v. Pride Restaurants, LLC, 367

F.3d 1238, 1248 (11th Cir. 2004) (conduct was sufficiently severe or pervasive

where the plaintiff’s supervisor “frequent[ly]” tried to get plaintiff to date him

using “many direct as well as indirect propositions for sex” including “following

her into the restroom,” “repeated attempts to touch her breasts, place his hands

down her pants, and pull off her pants,” and “enlisting the assistance of others to

hold her while he attempted to grope her”) and Miller, 277 F.3d at 1276-77

(harassment was severe and pervasive where co-workers called plaintiff racially

offensive names three to four times per day) with Gupta v. Fla. Bd. of Regents, 212

F.3d 571, 584-85 (11th Cir. 2000), overruled on other grounds by Burlington N. &

Santa Fe Ry. Co. v. White, 548 U.S. 53 (2006) (the following conduct over a six or

seven month period was not sufficiently severe or pervasive: flirtatious comments

such as “[y]ou are looking very beautiful”; frequent calls to plaintiff’s house at

night asking personal questions; one incident when plaintiff entered harasser’s

office when he was expecting her and he was sitting in his chair with his dress shirt

off, but wearing an undershirt, and he “unbuckled his belt and pulled down his

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zipper and start[ed] tucking his shirt in”; one incident where harasser placed his

hand on plaintiff’s inner thigh; and one incident where harasser lifted plaintiff’s

dress four inches and felt the hem) and Lockett v. Choice Hotels Intern., Inc., 315

F. App’x 862, 866 (11th Cir. 2009) (harasser’s comments to plaintiff about sexual

positions, that “he would go down on [her] good,” that her boyfriend “ain’t F’ing

[her] right, and that she needed “to get with a real guy” were not severe or

pervasive).

      With respect to whether Mr. Henderson’s conduct was physically

threatening or humiliating, Ms. Thompson does not allege and has not produced

evidence that Mr. Henderson humiliated her. Ms. Thompson testified that Mr.

Henderson never physically threatened her. (Doc. 34-2 at 24). And, although the

four massages involve physical contact, Ms. Thompson told Mr. Henderson that

one of the massages “felt good.” (Doc. 34-2 at 28). Thus, the record contains no

evidence that Mr. Henderson physically threatened Ms. Thompson or humiliated

her, despite making her “uncomfortable” at times. (See Doc. 34-2 at 36).

      Finally, Ms. Thompson offers no evidence that Mr. Henderson’s harassment

affected the performance of her job. Although Ms. Thompson testified that she

suffered stress as a result of Mr. Henderson’s conduct, she still was able to provide

quality patient care. (Doc. 34-2 at 47). In addition, months after Mr. Henderson’s

conduct began, Ms. Thompson requested to work more hours at the Trussville Jail,

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even though she knew that doing so meant she might interact with Mr. Henderson

more frequently.    (Doc. 34-2 at 47).        Ms. Thompson did not file a written

complaint about Mr. Henderson; she did not talk to QCHC’s human resources

department about Mr. Henderson; and she complained to Stacie only after QCHC

transferred her to a different jail. (Doc. 34-2 at 37-38). None of this evidence

suggests that Mr. Henderson’s conduct unreasonably interfered with Ms.

Thompson’s ability to perform her job.

      Viewing the evidence as a whole, the court concludes that Mr. Henderson’s

conduct did not alter the conditions of Ms. Thompson’s employment.

Accordingly, QCHC is entitled to judgment as a matter of law on Ms. Thompson’s

Title VII hostile work environment claim.

      Because Ms. Thompson has not demonstrated that Mr. Henderson’s

harassment was severe and pervasive, Ms. Thompson’s hostile work environment

claim fails as a matter of law. Thus, the court does not address QCHC’s alternative

argument that Ms. Thompson has not shown a basis for holding QCHC liable.

(See Doc. 35 at 22-38).

      B.     Title VII Retaliation

      To establish a claim for Title VII retaliation, a plaintiff must demonstrate

that: (1) she engaged in statutorily protected activity; (2) she suffered a materially

adverse action; and (3) there was a causal connection between the protected

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activity and the adverse action. Howard v. Walgreen Co., 605 F.3d 1239, 1244

(11th Cir. 2010). QCHC argues that Ms. Thompson cannot establish a prima facie

case of retaliation because there is no evidence of a causal connection. (Doc. 35 at

27-28).

      A plaintiff establishes a causal connection through facts showing “that the

protected activity and the adverse action were not wholly unrelated.” Clover v.

Total Sys. Servs., Inc., 176 F.3d 1346, 1354 (11th Cir. 1999). “In order to show the

two things were not entirely unrelated, the plaintiff must generally show that the

decision maker was aware of the protected conduct at the time of the adverse

employment action.” Brungart v. BellSouth Telecomms., Inc., 231 F.3d 791, 799

(11th Cir. 2000); see Raney v. Vinson Guard Serv., Inc., 120 F.3d 1192, 1197 (11th

Cir. 1997) (“[I]n a case involving a corporate defendant the plaintiff must show

that the corporate agent who took the adverse action was aware of the plaintiff’s

protected expression.”). The Eleventh Circuit has explained that this “requirement

rests upon common sense” because “[a] decision maker cannot have been

motivated to retaliate by something unknown to him.” Brungart, 231 F.3d at 799.

      Ms. Singleton and Mr. Barkley, with Dr. Bates’s approval, made the

decision to terminate Ms. Thompson’s employment. (Doc. 34-1 at ¶ 10; Doc. 36-6

at ¶ 2). Ms. Thompson did not complain to Ms. Singleton or Mr. Barkley about

Mr. Henderson. Ms. Thompson complained to Stacie and two other QCHC

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employees. (Doc. 34-2 at 34-38). Although Stacie completed a disciplinary report

and provided information to Ms. Singleton about Ms. Thompson’s job

performance, Ms. Thompson has presented no evidence demonstrating that Stacie

told Ms. Singleton about Ms. Thompson’s complaints. (See Doc. 34-1 at ¶10; Doc.

34-4 at ¶¶ 7, 10; Doc. 44-1 at ¶ 3). Moreover, neither Mr. Barkley nor Dr. Bates

was aware, prior to Ms. Thompson’s termination, that she complained about a jail

officer’s conduct. (Doc. 34-1 at ¶ 10; Doc. 34-6 at ¶ 2).

      Ms. Thompson argues that a causal connection exists because QCHC

terminated her employment “within approximately 14 days of telling her

supervisor she did not want to go back to work with Henderson at the Trussville

City Jail.” (Doc. 42 at 16). An employee’s termination within weeks of her

protected activity may be circumstantial evidence of a causal connection, but

“temporal proximity alone is insufficient to create a genuine issue of fact as to

causal connection where there is unrebutted evidence that the decision maker did

not have knowledge that the employee engaged in protected conduct.” Brungart,

231 F.3d at 799.

      Because Ms. Thompson has not submitted evidence showing that the

decision makers knew about her complaints, Ms. Thompson has not demonstrated

that a causal connection exists between the complaints and her termination, and she

cannot establish a prima facie case of retaliation. See e.g., Clover, 176 F.3d at

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1356 (reversing district court’s denial of summary judgment on retaliation claim

because despite being terminated one day after protected conduct, the plaintiff

“failed to present sufficient evidence to establish that [the decision maker] was

aware of her protected conduct”); McCollum v. Bolger, 794 F.2d 602, 610-11 (11th

Cir.1986) (plaintiff failed to prove a prima facie case of retaliation where evidence

showed that the decision maker did not know that the plaintiff engaged in protected

activity).

       Accordingly, QCHC is entitled to judgment as a matter of law on Ms.

Thompson’s Title VII retaliation claim.

III.   CONCLUSION

       For the reasons explained above, the court GRANTS QCHC’s motion for

summary judgment and ENTERS JUDGMENT in favor QCHC on Ms.

Thompson’s Title VII hostile work environment claim and Title VII retaliation

claim. The court DISMISSES these claims WITH PREJUDICE.

       The only remaining claim is Ms. Thompson’s state law invasion of privacy

claim against Mr. Henderson. In her complaint, Ms. Thompson did not allege that

the court has diversity of citizenship jurisdiction, and she has not properly alleged

her citizenship or that of Mr. Henderson. (See Doc. 1). Nor does the second

amended complaint allege or establish that the amount in controversy exceeds

$75,000. (See Doc. 1).

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      In the absence of an independent basis for jurisdiction over Ms. Thompson’s

invasion of privacy claim, the court will dismiss the claim without prejudice

pursuant to 28 U.S.C. § 1367(c). Within 7 days of entry of this order, Ms.

Thompson shall show cause why the court has original jurisdiction over her state

law claim.

      DONE and ORDERED this January 8, 2019.



                                  _________________________________
                                  ANNEMARIE CARNEY AXON
                                  UNITED STATES DISTRICT JUDGE




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